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                   IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION




UNITED STATES OF AMERICA

V.                                             NO. 4:05CR00305-031 SWW

FREDERICK W. ROBINSON


                                              ORDER

       Before the Court is the government’s motion to dismiss petition to revoke supervised release. The

Court has been advised of new information by the U. S. Probation Office and finds that a status hearing

should be scheduled to commence at 10:00 a.m. on TUESDAY, JULY 23, 2013, in Courtroom #389, Richard

Sheppard Arnold United States Courthouse, 600 West Capitol Avenue, Little Rock, Arkansas.

       The motion to dismiss petition to revoke supervised release [doc #1285] is denied.

       IT IS SO ORDERED this 19th day of July 2013.



                                                               /s/Susan Webber Wright
                                                               UNITED STATES DISTRICT JUDGE
